                        Case 3:23-mj-00709-MEG Document 9 Filed 08/16/23 Page 1 of 1

AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Connecticut
                                                                             of __________

                   United States of America                                    )
                              v.                                               )       Case No. 3:23-mj-709 (MEG)
                                                                               )
        Gene DiGiovanni, Jr. aka Gino DiGiovanni                               )       Charging District:          District of Columbia
                              Defendant                                        )       Charging District’s Case No. 1:23-mj-00204


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: As discussed on the record, parties will confer with                            Courtroom No.: TBD
         each other and the U.S. District Court for the District
         of Columbia                                                                   Date and Time:

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            08/16/2023                                                                            /s/ Maria E. Garcia
                                                                                                           Judge’s signature

                                                                                                   Maria E. Garcia, U.S.M.J.
                                                                                                        Printed name and title
